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                            IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

     IN RE: JOHNSON & JOHNSON TALCUM                    Civil No.: 3:21-cv-14314

     POWDER PRODUCTS MARKETING,

     SALES PRACTICES, AND PRODUCTS
                                                        MDL No. 2738
     LIABILITY LITIGATION

                                        NOTICE OF FILING
           Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

    Complaints) that the Form Complaint and Jury Demand has been filed this date on behalf of

    Plaintiff Lucinda Nicole Dobbins Individually and on behalf of the Wrongful Death Beneficiaries

    and Heirs-At-Law of Peggy Jane Hendrix, deceased.

    Dated: July 29, 2021.

                                                 Respectfully Submitted,

                                                 By: /s/ T. Roe Frazer II
                                                 T. Roe Frazer II (MS Bar No. 5519) PHV
                                                 Patrick D. McMurtray (TN Bar No. 31597) PHV
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    Counsel for Plaintiff
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                                    CERTIFICATE OF SERVICE

            I hereby certify that on July 29, 2021, a copy of the foregoing NOTICE OF FILING was
    filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent by
    operation of the Court’s electronic filing system to all parties indicated on the electronic filing
    receipt. Parties may access this filing through the Court’s system.


                                                   /s/ T. Roe Frazer II
